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                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

 UNITED STATES OF AMERICA,                               )
                                                         )
                Plaintiff,                               )
                                                         )
         vs.                                             )   No. 19-CR-3113 JB
                                                         )
 ROSEANNE ROMERO,                                        )
                                                         )
                Defendant.                               )


                             UNOPPOSED MOTION FOR VARIANCE

       The United States of America, through its undersigned counsel, hereby moves the Court

for a variance in this matter, and as grounds, states:

       It is the position of the United States that the disparity between the base offense levels for

cocaine and cocaine base should be eliminated. Based on this, the United States agrees that a

downward variance to the guideline range that would apply using cocaine (instead of cocaine

base) as the base offense level is warranted. The Defendant agrees, in exchange for the United

States’ recommendation of this downward variance, that the Defendant will not seek a further

reduced sentence pursuant to 18 U.S.C. § 3582(c)(2) in the event the Court grants the variance

and there is a future statutory change to eliminate the disparity in sentencing policy between

federal offenses involving cocaine base and those involving cocaine and if the Sentencing

Commission amends § 2D1.1(c) to reflect a statutory change eliminating the disparity.

       Counsel for the defendant concurs with this request.

       WHEREFORE, for the foregoing reasons, the United States requests a variance be

granted in this matter.
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                                              Respectfully submitted,

                                              FRED J. FEDERICI
                                              Acting United States Attorney


                                                /s/
                                              Elaine Y. Ramírez
                                              Assistant United States Attorney
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                                              Albuquerque, New Mexico 87103
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I HEREBY CERTIFY that on the 22nd day of
September, 2021, I electronically filed the
foregoing with the Clerk of the Court using
the CM/ECF system which will send
notification to defense counsel.

Electronically filed on 9/22/2021
Elaine Y. Ramírez
Assistant United States Attorney
